Case 2:25-cv-01001-PA-JPR           Document 1-2   Filed 02/05/25   Page 1 of 3 Page ID
                                           #:11



 1 SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
   A Limited Liability Partnership
 2 Including Professional Corporations
   TRACEY A. KENNEDY, Cal Bar No. 150782
 3 tkennedy@sheppardmullin.com
   ROBERT MUSSIG, Cal. Bar No. 240369
 4 rmussig@sheppardmullin.com
   RYAN J. KRUEGER, Cal Bar No. 293994
 5 rkrueger@sheppardmullin.com
   TYLER JOHNSON, Cal Bar No. 307386
 6 tjohnson@sheppardmullin.com
   MICHAELA R. GOLDSTEIN, Cal. Bar No. 316455
 7 mgoldstein@sheppardmullin.com
   350 South Grand Avenue, 40th Floor
 8 Los Angeles, California 90071-1422
   Telephone: 213.620.1780
 9 Facsimile: 213.620.1398
10 Attorneys for Defendants
   SPORTS MEDIA SERVICES, LLC
11 (ERRONEOUSLY NAMED AND
    SERVED AS FOX CORPORATION),
12 FOX SPORTS HOLDINGS, LLC,
   FOX SPORTS 1, LLC, FOX SPORTS
13 2, LLC, and FOX SPORTS
   PRODUCTIONS, LLC
14
                        UNITED STATES DISTRICT COURT
15
           CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
16
17
   NOUSHIN FARAJI, individually, and                 Case No.
18 on behalf of others similarly situated,           LASC Case No. 25STCV00101
19                     Plaintiff,                    DECLARATION OF MICHAELA R.
                                                     GOLDSTEIN IN SUPPORT OF
20            v.                                     DEFENDANT SPORTS MEDIA
                                                     SERVICES, LLC’S
21 FOX CORPORATION, a Delaware                       (ERRONEOUSLY NAMED AND
   corporation, FOX SPORTS                           SERVED AS FOX CORPORATION)
22 HOLDINGS, LLC, a Delaware limited                 NOTICE OF REMOVAL
   liability company, FOX SPORTS 1,
23 LLC, a Delaware limited liability                 [Filed Concurrently with: Notice of
   company, FOX SPORTS 2, LLC, a                     Removal of Action; Corporate
24 Delaware limited liability company,               Disclosure Statement; Notice of
   FOX SPORTS PRODUCTIONS, LLC,                      Interested Parties; and Declaration of
25 a Delaware limited liability company,             Joy Dumlao in support of Defendant’s
   CHARLIE DIXON, an individual,                     Notice of Removal of Action]
26 SKIP BAYLESS, an individual, JOY
   TAYLOR, an individual, and DOES 1-                Complaint Filed: January 3, 2025
27 25, inclusive,                                    Trial Date: None Set
28 Defendants.
                                                   -1-
     SMRH:4915-2076-4691.1               DECLARATION OF MICHAELA R. GOLDSTEIN ISO DEFENDANT’S
                                                                NOTICE OF REMOVAL OF ACTION
Case 2:25-cv-01001-PA-JPR          Document 1-2    Filed 02/05/25   Page 2 of 3 Page ID
                                          #:12



 1                       DECLARATION OF MICHAELA R. GOLDSTEIN
 2 I, Michaela R. Goldstein, declare as follows:
 3            1.       I am an attorney duly admitted to practice before this Court. I am an
 4 associate with Sheppard, Mullin, Richter & Hampton LLP, attorneys of record for
 5 Defendant Sports Media Services, LLC (erroneously named and served as Fox
 6 Corporation) (“Sports Media”) in the above-referenced action. I am one of the
 7 attorneys primarily responsible for managing the defense of this action on behalf of
 8 Sports Media, and I am personally familiar with the pleadings filed in this action
 9 and my firm’s files for this matter. If called as a witness, I could and would
10 competently testify to all facts within my personal knowledge except where stated
11 upon information and belief.
12            2.       A true and correct copy of the proposed class action summons and
13 complaint (“Complaint”) filed on behalf of Plaintiff Noushin Faraji against Sports
14 Media in the Superior Court of the State of California, County of Los Angeles,
15 which initiated Case No. 25STCV00101 (“State Court Action”) is attached hereto
16 and marked “Exhibit C.”
17            3.       On January 7, 2025, Sports Media (erroneously named and served as
18 Fox Corporation) was served with Plaintiff’s Complaint by personal service. A true
19 and correct copy of the Proof of Service for Sports Media is attached hereto and
20 marked “Exhibit D.”
21            4.       A true and correct copy of Sports Media’s Answer to Plaintiff’s
22 Complaint which Sports Media filed in the State Court Action on February 4, 2025
23 is attached hereto and marked “Exhibit E.”
24            5.       On January 29, 2025, Sports Media was served with an Initial Status
25 Conference Order and Minute Order in the State Court Action. A true and correct
26 copy of these Orders is attached hereto and marked “Exhibit F.”
27
28
                                                   -2-
     SMRH:4915-2076-4691.1               DECLARATION OF MICHAELA R. GOLDSTEIN ISO DEFENDANT’S
                                                                NOTICE OF REMOVAL OF ACTION
Case 2:25-cv-01001-PA-JPR          Document 1-2    Filed 02/05/25   Page 3 of 3 Page ID
                                          #:13



 1            6.       A true and correct copy of Skip Bayless’s Answer to Plaintiff’s
 2 Complaint, which Mr. Bayless filed in the State Court Action on February 5, 2025 is
 3 attached hereto and marked “Exhibit G.”
 4            I have read the foregoing declaration and I declare under penalty of perjury
 5 under the laws of the United States and the State of California that the foregoing is
 6 true and correct.
 7            Executed on this 5th day of February 2025 in Los Angeles, California.
 8
 9                                                           /s/ Michaela Goldstein
10                                                       MICHAELA GOLDSTEIN
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                  -3-
     SMRH:4915-2076-4691.1              DECLARATION OF MICHAELA R. GOLDSTEIN ISO DEFENDANT’S
                                                               NOTICE OF REMOVAL OF ACTION
